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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 SARAH HAYES and MARK HAYES,                          )
 individually, and as a parents and next friends of   )
 IRIS HAYES, a minor,                                 )
                                                      )      No. 23 C 1749
                        Plaintiffs,                   )
        v.                                            )      Chief Judge Virginia M. Kendall
                                                      )
 PRESENCE CHICAGO HOSPITAL                            )
 NETWORK, et al.,                                     )
                                                      )
                        Defendants.                   )


                          MEMORANDUM OPINION AND ORDER

       Plaintiffs Sarah and Mark Hayes gave birth to a baby girl, Iris, in 2014. Iris developed brain

injuries brought on by deprivation of oxygen in utero during her delivery at St. Francis Hospital in

Chicago. The Hayes sued several individuals, the hospital network, and the United States for their

daughter’s injuries. At issue in this Motion is their medical malpractice claim under the Federal

Tort Claims Act (FTCA) against the United States based on the conduct of Dr. Chlebowicz, the

attending physician for Iris’s delivery. The Hayes’ other claims are the subject of a separate motion

pending before the Court. The United States moves for summary judgment on the grounds that the

Hayes’ FTCA claim is time-barred. (Dkt. 44 at 1). For the reasons below, the Court grants the

United States’ Motion for Summary Judgment [43].

                                        BACKGROUND

         I.    Factual History

        Iris Hayes was delivered by Cesarian section at Saint Francis on October 9, 2014. (Dkt.

45 ¶ 1; Dkt. 49 ¶ 1). Dr. Magdalena Agata Chlebowicz was Sarah’s attending physician during

Iris’s delivery at Saint Francis Hospital. (Dkt. 45 ¶ 15). Dr. Chlebowicz provided medical care to

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Sarah as an employee of ACCESS Community Health Network (“ACCESS”), a private entity that

receives federal grant funding from the U.S. Public Health Service, rendering Dr. Chlebowicz a

federal employee under the FTCA. (Dkt. 1 at 102; Dkt. 12; Dkt. 13; Dkt. 44 at 6, Dkt. 45 ¶ 45;

Dkt. 49 ¶ 45); 42 U.S.C. §§ 233(a), (g); 28 U.S.C. § 1346(b)(1). The Hayes allege that Sarah’s

medical team, including Dr. Chlebowicz, negligently delayed the Cesarian section and failed to

adequately recognize and respond to Iris’s signs of fetal distress, resulting in hypoxia in utero,

acidosis, and permanent brain damage. (Dkt. 22 ¶¶ 38–45).

       During the delivery process, Sarah experienced severe pain, and her labor was stalled for

hours before the medical team ultimately decided to perform a Cesarian section. (Dkt. 45 ¶¶ 21–

23; Dkt. 49 ¶¶ 21–23; Dep. of Sarah Hayes, Dkt. 50-2 at 26:22–27:10; Dep. of Mark Hayes, Dkt.

50-1 at 150:02–151:01, 152:05–153:16). The Hayes each testified that throughout the day of Iris’s

birth, they had “concerns about the quality of the medical care provided[,]” including concerns

that Dr. Chlebowicz was unusually absent for much of the day, that the medical team did not check

in on Sarah frequently enough, and that the medical team did not consider the need for alternatives

to conventional delivery in a timely manner. (Dkt. 45 ¶ 15–22; Dkt. 49 ¶ 15–22; Dep. of Sarah

Hayes, Dkt. 50-2 at 15:03–20, 68:08–20, 26:22–27:10; Dep. of Mark Hayes, Dkt. 50-1 at 148:12–

24, 149:09–16). Sarah testified that a medical resident “had a really hard time placing” the fetal

monitor and took a while to do so, and that the medical team had to readjust the monitor several

times, including at least one time in the presence of Dr. Chlebowicz. (Dkt. 45 ¶ 19–20; Dkt. 49 ¶

19–20; Dep. of Sarah Hayes, Dkt. 45-2 at 25:20–26:20). Sarah further testified that prior to the

delivery, when her contractions were very severe, she expressed serious concerns about the health

of Iris to the medical team, complained about Dr. Chlebowicz’s absence, and “did not feel

confident in how things were being addressed” because the medical team’s responses were not



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timely and were sometimes dismissive. (Dep. of Sarah Hayes, Dkt. 50-2 at 15:08–20; 16:10–18:03;

Dkt. 45 ¶¶ 16–17; Dkt. 49 ¶¶ 16–17). After Sarah became worried that her labor was not

progressing, she expressed concern to the medical team, but even after several hours of stalled

labor, the medical team had not discussed alternatives to conventional delivery with her. (Dep. of

Sarah Hayes, Dkt. 50-2 at 26:21–28:01). Sarah testified that the medical team eventually

mentioned a Cesarian section “late in the day last minute.” (Dep. of Sarah Hayes, Dkt. 50-2 at

97:1–19).

        The Hayes allege that Iris’s medical records show that the Cesarean section was untimely

by detailing abnormalities in Iris’s heartrate as well as Sarah’s prolonged labor, arrest of dilation,

and intolerance to the labor induction medication Pitocin. (Dkt. 45 ¶ 27; Dkt. 49 ¶ 27). The Hayes

further allege that Iris exhibited signs of neurological injuries at birth, including a dark purple

appearance. (Dkt. 45 ¶ 25; Dkt. 49 ¶ 25; Dep. of Mark Hayes, Dkt. 50-1 at 71:15–19). Within

hours of her birth, Iris experienced seizures and was moved to a neonatal intensive care unit. (Dkt.

45 ¶¶ 9, 25; Dkt. 49 ¶¶ 9, 25). An MRI subsequently confirmed that Iris suffered hypoxic ischemic

encephalopathy, an injury associated with oxygen deprivation. (Dkt. 45 ¶ ¶ 9–10; Dkt. 49 ¶ ¶ 9–

10; Dep. of Sarah Hayes, Dkt. 50-2 at 43:05–17, 78:13–17, 94:22–95:03).

        Sarah testified that shortly after receiving the MRI results, the Hayes understood that a lack

of oxygen caused Iris to suffer brain damage and that the “lack of oxygen was most likely caused

by her delayed birth.” (Dep. of Sarah Hayes, Dkt. 50-2 at 43:05–17, 78:13–17, 94:22–95:03,

30:19–31:01; Dep. of Mark Hayes, Dkt. 50-1 at 97:07–100:10; 156:16–157:01, 158:04–12).

Shortly after Iris’s birth, Mark told Sarah that the delay of Iris’s birth caused Iris’s injuries. (Dep.

of Sarah Hayes, Dkt. 45-2 at 30:19–31:01). While sharing the MRI results, medical professionals

told Mark that Iris would probably develop cerebral palsy and had an 80% chance of being unable



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to walk, talk, and feed herself. (Dep. of Mark Hayes, Dkt. 50-1 at 97:07–100:10). Sarah further

testified that within a year of Iris’s birth, she believed that “the delay in performing the C-section”

was “related to” Iris’s injuries. (Dep. of Sarah Hayes, Dkt. 50-2 at 28:02–18; 29:04–21). Within

the same period, Iris displayed additional signs of neurological injuries, including issues associated

with her gross motor movement, fine motor movement, and vocalizations. (Dkt. 45 ¶ 26; Dkt. 49

¶ 26; Dep. of Sarah Hayes, Dkt. 50-2 at 32:19–33:14).

       In 2017 or 2018, Mark reached out to his uncle, an attorney and local judge, to see if he

could refer Mark to an attorney for assistance related to Iris’s birth and injuries. (Dep. of Mark

Hayes, Dkt. 50-1 at 159:20–160:17). The uncle informed Mark that he could not prosecute the

claim but helped Mark understand the process, told Mark that a claim could be brought up until

Iris is 8 years old, and referred him to a local attorney. (Id.) Because Iris was only approximately

four years old at the time, Mark waited “another year or so” before reaching out to the local

attorney, who also told the Hayes that they still had time to sue. (Id.; Dkt. 45 ¶¶ 28–32; Dkt. 49 ¶¶

28–32). The Hayes sought legal advice because, around that time in 2017 or 2018, Iris received a

diagnosis of apraxia (a motor disorder caused by brain damage), he and Sarah “had all the doctors’

information” and understood that Iris suffered “long-term damage . . . that she’s going to have to

live with,” and Mark believed that “something went wrong during the birth.” (Dep. of Mark Hayes,

Dkt. 50-1 at 160:20–163:25, 164:01–05; Dep. of Sarah Hayes, Dkt. 50-2 at 45:01–46:16). The

Hayes ultimately decided to “see how things went” and did not move forward with any legal action

at that time because they felt that they had additional time and that the process was emotionally

burdensome. (Dep. of Sarah Hayes, Dkt. 50-2 at 45:01–46:16; Dep. of Mark Hayes, Dkt. 50-1 at

164:01–24; Dkt. 45 ¶¶ 28–32; Dkt. 49 ¶¶ 28–32).




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       Unfortunately, when Iris was four or five years old in 2018 or 2019, Sarah became certain

that Iris suffered from permanent impairments in her visual memory processing, spatial awareness,

and cognitive functioning. (Dep. of Sarah Hayes, Dkt. 50-2 at 34:13–37:04; Dkt. 50 ¶ 14; Dkt.

56 ¶ 14). Mark testified that it “sounds about right” that one of Iris’s medical records states that a

cerebral palsy diagnosis was made when she was approximately seven years old, but as the United

States points out, it is not clear whether this was the first cerebral palsy diagnosis, and the

document is not in the record. (Dep. of Mark Hayes, Dkt. 50-1 at 47:18–22; Dkt. 57 ¶ 17). These

factual disputes, however, are not essential to determining the timeliness of the FTCA claim at

issue here. When Iris was seven years old in 2021 or 2022, the Hayes contacted the attorneys who

brought this suit. (Dep. of Mark Hayes, Dkt. 50-1 at 165:02–09).

         II.   Procedural History

       In September 2022, a month before Iris’s eighth birthday, the Hayes initiated this action in

Illinois state court, bringing the same claims against Presence Chicago and the defendant nurses

pending here, plus a medical malpractice claim against Dr. Chlebowicz in her individual capacity.

(Dkt. 1 at 8; Dkt. 49 ¶ 41). In March 2023, the United States removed the action to this Court under

42 U.S.C. § 233 and substituted the United States as a defendant in the place of Dr. Chlebowicz,

after the Attorney General certified that Dr. Chlebowicz acted as a federal employmee with respect

to the events underlying the Hayes’ negligence claim. (Dkt. 1 at 1–3, 102). The Hayes later

voluntarily dismissed their negligence claim against Dr. Chlebowicz in her individual capacity

(Count II), because the Public Health Services Act provides that an action against the United States

is the exclusive remedy for a medical malpractice claim arising from the conduct of a Public Health

Service employee. (Dkt. 41); 42 U.S.C. § 233(a).

       Prior to the removal, in February 2023, the Hayes presented an administrative claim to the

Department of Health and Human Services (HHS), which, under 28 U.S.C. § 2675(a), was a
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prerequisite for them to bring their FTCA claim against the United States in this Court. (Dkt. 22-

3 at 1–4). In April 2023, the Court, based on the parties’ stipulation, dismissed the claim against

the United States without prejudice and stayed the remaining claims until the Hayes received a

final determination of their administrative tort claim and thereby exhausted the administrative

remedy for their claim against the United States. (Dkt. 13). In August 2023, HHS denied the Hayes’

administrative claim on the basis that “[t]he evidence fails to establish that the alleged injuries

were due to the negligent or wrongful act or omission of a federal employee acting within the

scope of employment.” (Dkt. 22-4 at 1–2).

                                        LEGAL STANDARD

        Summary judgment is appropriate “if the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a); Med. Protective Co. of Fort Wayne v. Am. Int’l Specialty Lines Ins. Co., 990 F.3d 1003, 1008

(7th Cir. 2021). The Court construes all facts and draws all reasonable inferences in favor of the

nonmoving party. Lewis v. Ind. Wesleyan Univ., 36 F.4th 755, 759 (7th Cir. 2022). “A genuine issue

of material fact exists only if ‘there is sufficient evidence’ ” for a reasonable jury to return a verdict

for the nonmoving party. BirchRea Partners, Inc. v. Regent Bank, 27 F.4th 1245, 1249 (7th Cir.

2022) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986)). A fact is “material” if

it might affect the outcome of the suit under the governing law. Anderson, 477 U.S. at 248.

“Speculation is not sufficient to survive summary judgment; there must be evidence.” Khungar v.

Access Cmty. Health Network, 985 F.3d 565, 573 (7th Cir. 2021) (cleaned up and internal citations

omitted).




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                                             DISCUSSION

        The United States moves for summary judgement claiming that the Hayes’ FTCA claim is

time-barred. (Dkt. 44 at 12). The FTCA waives federal sovereign immunity for tort claims arising

from “circumstances where the United States, if a private person, would be liable to the claimant

in accordance with the law of the place where act or omission occurred.” 28 U.S.C. § 1346(b)(1);

28 U.S.C. § 2674. And under 28 U.S.C. § 2401(b), “[a] tort claim against the United States shall

be forever barred unless it is presented in writing to the appropriate Federal agency within two

years after such claim accrues[.]” The Hayes did not present the administrative claim to HHS until

February 2023 at the earliest, so the FTCA claim is timely only if it accrued in or after February

2021. 1 (Dkt. 22-3 at 1–4); 28 U.S.C. § 2401(b); Evans v. United States, No. 23-1151, 2025 WL

798859, at *4 (7th Cir. Mar. 13, 2025) (holding that the Westfall Act’s savings provision, 28 U.S.C.

§ 2679(d)(5), which extends the FTCA’s statute of limitations for actions against federal employees

that are removed to federal court pursuant to § 2679(d)(5), does not apply to actions against Public

Health Service employees that are removed to federal court pursuant to 42 U.S.C. § 233(c)).

        An FTCA claim accrues when a plaintiff either (1) has actual, subjective knowledge that a

government act or omission may have caused their injury, or (2) has “information that would

prompt a reasonable person to inquire further into a potential government-related cause of the

injury, whichever happens first.” E.Y. ex rel Wallace v. United States, 768 F.3d 861, 865–66 (7th


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  The Hayes appear to have mailed the administrative claim to HHS on February 6, 2023, (Dkt. 22-3 at 2),
but HHS’s disposition letter indicates that the administrative claim was filed on May 22, 2023. (Dkt. 22-4
at 1). “[A] claim shall be deemed to have been presented when a Federal agency receives from a claimant
. . . an executed Standard Form 95 or other written notification of an incident, accompanied by a claim for
money damages in a sum certain for injury to or loss of property, personal injury, or death alleged to have
occurred by reason of the incident[.]” 28 C.F.R. § 14.2 (emphasis added). Although it is difficult to imagine
that HHS received the administrative claim more than two months after it was mailed, the factual question
of which exact day the administrative claim was presented is not material to this dispute, because even
assuming the earliest possible date on which HHS could have received the administrative complaint
(February 6, 2023), the Hayes’ FTCA claim is still untimely.
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Cir. 2014); P.W. by Woodson v. United States, 990 F.3d 515, 520–21 (7th Cir. 2021); Arteaga v.

United States, 711 F.3d 828, 831–32 (7th Cir. 2013); Arroyo v. United States, 656 F.3d 663, 669,

673 (7th Cir. 2011); Blanche v. United States, 811 F.3d 953, 958 (7th Cir. 2016) (noting this

standard provides for “either a subjective analysis or an objective analysis”); United States v.

Kubrick, 444 U.S. 111, 122–23 (1979) (holding that a medical malpractice claim under the FTCA

accrues when plaintiff becomes aware of physical injury and its cause). Under the subjective

analysis, a plaintiff need not have knowledge of the legal injury (negligence or recklessness), only

knowledge of the actual injury and its probable cause. Massey v. United States, 312 F.3d 272, 276

(7th Cir. 2002); Kubrick, 444 U.S. at 122–23. Under the objective analysis, a traumatic birth

experience alone does not trigger the statute of limitations for a medical malpractice claim based

on injuries resulting from the negligent delivery of a child. P.W., 990 F.3d at 521. For the statute

of limitations to run, a plaintiff must have additional information that would prompt a reasonably

diligent person to inquire into whether a doctor’s conduct during delivery was a probable cause of

the injuries. Id.; Nemmers v. United States, 795 F.2d 628, 632 (7th Cir. 1986).

        The United States contends that the Hayes’ FTCA claim is untimely because they were

aware of Iris’s injuries shortly after her birth, and they suspected, as early as 2014, that the delay

in performing the Cesarean section caused Iris’s injuries. (Dkt. 44 at 3, 12). The United States

relies on the Hayes’ testimony that after receiving the MRI results shortly after Iris’s birth, they

understood Iris’s injuries were caused by a lack of oxygen that most likely resulted from her

delayed birth; that within the year after Iris’s birth, Sarah believed the delay in the Cesarian section

was related to Iris’s injuries; and that the Hayes “were both aware of this concern from the

beginning.” (Id. at 3–4; Dep. of Sarah Hayes, Dkt. 50-2 at 30:01–06). The United States also

emphasizes the Hayes’ testimony that they had serious concerns about the medical care Sarah



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received, including concerns about Dr. Chlebowicz’s absence, the medical team’s general lack of

monitoring and responsiveness, and the medical team’s delayed consideration of alternatives to

conventional delivery. (Dkt. 44 at 4). The United States further underscores that in 2017 or 2018,

the Hayes consulted with an attorney about Iris’s injuries based on the belief that “something went

wrong during the birth.” (Id. at 5; Dep. of Mark Hayes, Dkt. 50-1 at 163:21–25).

       The Hayes argue that the FTCA claim did not accrue until the start of their investigation

of the cause of Iris’s injures in October 2021. (Dkt. 51 at 9). They assert that the Hayes’ mere

awareness of Iris’s injuries is insufficient to start the statute of limitations clock because they

lacked actual knowledge that Dr. Chlebowicz’s conduct was a probable cause of Iris’s injuries and

information that would prompt a reasonable person to inquire into whether Dr. Chlebowicz’s

conduct may have been a probable cause of Iris’s injuries. (Id. at 2).

         I.    Knowledge of the Injuries

       First, the Hayes do not meaningfully dispute that they had knowledge of Iris’s injuries

shortly after her birth in 2014 and certainly when they sought legal advice in 2017 or 2018. The

Hayes’ testimony clearly establishes that they had actual knowledge of Iris’s primary injury—brain

damage resulting from a lack of oxygen—when they received the MRI results shortly after her

birth in October 2014. (Dep. of Sarah Hayes, Dkt. 50-2 at 43:05–17, 78:13–17, 94:22–95:03,

30:19–31:01; Dep. of Mark Hayes, Dkt. 50-1 at 97:07–100:10; 156:16–157:01, 158:04–12). While

the Hayes initially had some uncertainty about the full extent of Iris’s injuries and how they would

manifest long-term, the Hayes’s testimony makes clear that they had knowledge of Iris’s long-term

complications, including impaired motor function, impaired speech, and impaired cognitive

functioning, in the years prior to them seeking legal advice in 2017 or 2018. (Dep. of Mark Hayes,

Dkt. 50-1 at 160:20–163:25, 164:01–05; Dep. of Sarah Hayes, Dkt. 50-2 at 45:01–46:16).



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        The Hayes’ assertion that “[o]ther than the seizures that Iris suffered after birth, Sarah did

not notice any cognitive health conditions or injuries during the first year of the baby’s life[,] (Dkt.

51 at 7), is immaterial because shortly after Iris’s birth, the Hayes had knowledge of the injuries

alleged in the Amended Complaint: “ongoing hypoxia in utero resulting in a lack of oxygen to her

brain and vital organs and ultimately acidosis and permanent brain damage.” (Dkt. 22 at 35, ¶ 44).

The Hayes testified that not only did they witness Iris’s seizures, but they also received MRI results

and medical advice detailing that Iris suffered severe brain damage. (Dep. of Sarah Hayes, Dkt.

50-2 at 43:05–17, 78:13–17, 94:22–95:03, 30:19–31:01; Dep. of Mark Hayes, Dkt. 50-1 at 97:07–

100:10; 156:16–157:01, 158:04–12).

         II.    Knowledge of a Probable Doctor-Related Cause

        Second, the Hayes’ own testimony clearly establishes that beginning in 2014 and certainly

by 2017 or 2018 when they began seeking legal advice, the Hayes “had reason to suspect, and in

fact did suspect, that the delay in performing [the Cesarian section, or at minimum what they

perceived to be overall deficient medical care,] was the source of” Iris’s injuries. Massey, 312 F.3d

at 279. Sarah’s testimony—that within a year of Iris’s birth, she believed that “the delay in

performing the C-section” was related to Iris’s injuries—is decisive on this issue. (Dep. of Sarah

Hayes, Dkt. 50-2 at 28:02–18; 29:04–21).

        Additional circumstances—including the complications in the delivery, the Hayes’

concerns about Dr. Chlebowicz and the medical team’s lack of responsiveness and proactive

consideration of alternatives to conventional delivery, the Hayes’ subjective understanding that

the brain damage Iris suffered at birth was likely related to Iris’s delayed birth, and the Hayes’

decision to seek legal advice in 2017 or 2018 based on their concerns about the medical care Sarah

received—collectively foreclose a genuine dispute over whether the Hayes had actual knowledge

that Dr. Chlebowicz’s conduct was a probable cause of Iris’s injuries by 2017 or 2018, at the latest.
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Blanche, 811 F.3d at 958–59 (finding that shortly after child’s birth, a parent had enough

information to suspect that a physician caused the child’s injuries where delivery was difficult, the

child was lodged in the birth canal, the physician induced conventional labor rather than

performing a Cesarian section, the unusually large child had to be rushed to an intensive care unit,

and the parent consulted with an attorney shortly after the child’s birth). These same facts also

foreclose a genuine dispute over whether the Hayes had information that would have prompted a

reasonable person to inquire into whether Dr. Chlebowicz’s conduct was a probable cause of Iris’s

injuries by 2017 or 2018, at the latest.

       The Hayes’ contention that the attorney consultation in 2017 or 2018 did not trigger the

statute of limitations because the record does not show that the attorney reviewed medical records

or discussed the merits of a medical malpractice action is uncompelling, (Dkt. 51 at 8), because

the Hayes’ testimony about their concerns that Iris’s injuries were doctor-related shows that they

“did not require [the attorney’s] review of the medical records to understand the traumatic delivery

as a potential cause of [Iris]’s injury[.]” P.W., 990 F.3d at 520. The Hayes claimed they decided not

to pursue legal action when they consulted the first attorney in 2017 or 2018 because they believed

they had more time to make the decision and felt the emotional weight of such a process, not

because they believed Dr. Chlebowicz was not a probable cause of Iris’s injuries. Blanche, 811

F.3d at 959 (Plaintiff “claimed she did not retain that attorney because she thought he was not a

good lawyer, not because she thought Dr. Marsheh was not involved with Arianna’s injury. This

indicates that Latoya subjectively believed that Arianna’s injury may have been caused by Dr.

Marsheh’s delivery.”); (Dep. of Sarah Hayes, Dkt. 50-2 at 45:01–46:16; Dep. of Mark Hayes, Dkt.

50-1 at 164:01–24; Dkt. 45 ¶¶ 28–32; Dkt. 49 ¶¶ 28–32).




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       The Hayes’ reliance on the discussion of medical records requests in Wallace, 758 F.3d at

863–64, 868–69, does not help their case, either. (Dkt. 51 at 8–9). There, the Seventh Circuit

simply held that an attorney’s request for records from a particular entity does not, on its own,

require the inference that a plaintiff suspected that entity may have caused the plaintiff’s injuries.

Wallace, 758 F.3d at 868–69. Here, the Court’s finding that the Hayes had actual knowledge that

Dr. Chlebowicz’s conduct was a probable cause of Iris’s injuries does not turn on the attorneys’

request for medical records in 2021 but the independent factual circumstances arising as early as

2014 that the Court discussed above.

       The Hayes’ contention—that they did not “suspect a doctor-related cause” because, while

they knew a lack of oxygen likely resulting from Iris’s delayed birth caused her brain damage, they

did not attribute the delayed birth to a delay in the performance of the Cesarian section—fails to

raise a genuine dispute of fact because it is directly contradicted by Sarah’s own testimony that she

believed the delayed performance of the Cesarian section was causally related to Iris’s injuries.

(Dkt. 51 at 4–8; Dkt. 49 ¶ 8). This contention is also foreclosed by Mark’s testimony that the Hayes

sought legal advice in 2017 or 2018, because he believed that since Sarah was otherwise healthy

during her pregnancy, “something went wrong during the birth.” (Dep. of Mark Hayes, Dkt. 50-1

at 160:20–163:25, 164:01–05).

       Regardless of whether medical professionals informed Sarah that Iris’s brain damage was

caused by her delayed birth, Sarah testified that she nonetheless came to suspect that it was based

on her understanding that “you have to be careful about timing with babies” and that “she was

worried that [Iris] wasn’t doing well in those last few hours.” (Dep. of Sarah Hayes, Dkt. 50-2 at

28:02–18; 29:04–21). That’s enough for the statute of limitations to begin running under the

subjective accrual test. Wallace, 758 F.3d at 865.



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        Furthermore, the Hayes’ contention—that the FTCA claim did not accrue until their

attorneys’ investigation of Iris’s injuries in 2021—is also unavailing. Proof that Dr. Chlebowicz

caused the injury was not required for the state of limitations to begin running; only a suspicion

that she was a probable cause of the injury was required. Kubrick, 444 U.S. at 122; Arroyo, 656

F.3d at 669; Massey, 312 F.3d at 276. The Hayes rely on Wallace, 758 F.3d at 864–66, 869, and

Drazan v. United States, 762 F.3d 56, 59 (7th Cir. 1985), to argue that the FTCA claim did not

accrue until the start of their attorneys’ investigation in 2021, because until then, the Hayes lacked

knowledge of “the government link in the causal chain,” that is, knowledge that Dr. Chlebowicz’s

conduct was a probable cause of Iris’s injuries. (Dkt. 51 at 6). But Wallace was a case, unlike this

one, where “government-related cause and doctor-related cause [were not] synonymous” because

the plaintiff received care from two different institutions (one governmental and one private) at

two different points in time (prenatal and delivery). 758 F.3d at 866–68. These circumstances

meant that the plaintiff’s suspicion that the private institution was a probable cause of the injuries

was enough only for the claims against the private institution to accrue, Id. at 866–68, because, as

a general rule, “[w]hen there are two causes of an injury, and only one is the government, the

knowledge that is required to set the statute of limitations running is knowledge of the government

cause, not just of the other cause.” Drazan v. United States, 762 F.2d 56, 59 (7th Cir. 1985).

        But where, as here, “a person suspects, or a reasonable person would suspect, that her injury

was caused by negligent medical care, claims regarding other doctor-related causes of that injury

that share a time and place with the injury’s suspected cause also accrue.” Wallace, 758 F.3d at 868

(“All claims arising from the same surgery, for example, against surgeon, anesthetist, and nurse,

would arise together. However, claims that are distinct in time, or distinct in place, or that relate to

a different injury do not accrue solely on that basis.”). The Hayes FTCA claim arises from a single



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procedure (induction of labor and delivery) performed by a single medical team at a single medical

facility over the course of a single day. And regardless, the Hayes’ testimony referenced above

makes clear that the Hayes held a particularized suspicion that Dr. Chlebowicz’s conduct was a

probable cause of Iris’s injuries. Additionally, Sarah testified she never suspected that any other

cause aside from the labor and delivery process might have contributed to her daughter’s alleged

injuries. (Dkt. 45 ¶ 35; Dkt. 49 ¶ 35).

       Furthermore, to the extent the Hayes imply that their claim did not accrue until they learned

that Dr. Chlebowicz was a federal employee, the FTCA’s statute of limitations is not tolled simply

because a plaintiff is unaware that their treating physician is a federal employee. Arteaga, 711 F.3d

at 831–32 (“The thinking that underlies Kubrick and the cases following it, which require

knowledge only of injury and of the likely cause of the injury to start the statute of limitations

running, is that armed with such knowledge the prospective plaintiff should be able to discover

within the statutory limitations period the rest of the facts needed for drafting a complaint that will

withstand a motion to dismiss. That the defendant is suable only under the Federal Tort Claims Act

is one of those facts.”); P.W., 990 F.3d at 522. The Hayes’ failure to diligently investigate does not

excuse their untimely filing.

       Finally, although the Hayes do not explicitly argue such, any purported reliance on the

attorney’s incorrect advice that they had 8 years to bring a claim does not toll the statute of

limitations under the FTCA. Arteaga, 711 F.3d at 831–34. In Arteaga, multiple attorneys advised

the plaintiff incorrectly, one wrongly told her that the Illinois eight-year statute of limitations

applied when the Illinois statute does not apply to FTCA claims, and another failed to timely

identify that Erie Family Health Center was a federal entity. Id. at 830–31. Despite these errors,

the Seventh Circuit held that the statute of limitations began to run when Arteaga first suspected a



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medical treatment-related cause, not when she later discovered federal involvement or received

accurate legal advice. Id. at 831–34.

        The Hayes’ FTCA claim accrued no later than the day on which the Hayes began seeking

legal advice in 2017 or 2018, if not as early as 2014 when the Hayes began suspecting that the

delayed Cesarian section caused Iris’s injuries. Even assuming the Hayes’ FTCA claim accrued on

the last day of 2018, the Hayes’ FTCA claim is still time-barred because the Hayes presented the

administrative claim to HHS more than two years later in February 2021, at the earliest.

Accordingly, the Court grants summary judgment on the Hayes’ FTCA claim (Count V) in favor

of the United States.

                                              CONCLUSION

        For the above reasons, the Court grants the United States’ Motion for Summary Judgment

[43] on the Hayes’ FTCA claim (Count V) in favor of the United States. The Court further grants

summary judgment on the Hayes’ claim for family medical expenses under 750 ILCS 65/15 (Count

VI) in favor of the United States. 2




                                                       Virginia M. Kendall
                                                       United States District Judge


    Date: March 30, 2025




2
 Pirrello v. Maryville Acad., Inc., 19 N.E.3d 1261 (Ill. App. Ct. 2014) (explaining that such claims are
derivative of underlying medical malpractice claims); (Dkt. 44 at 12, n.1).

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